  Case 1-18-41466-cec        Doc 12     Filed 04/13/18      Entered 04/13/18 17:10:43




UNITED STATES BANKRUPTCY COURT                            Hearing Date: May 23, 2018
EASTERN DISTRICT OF NEW YORK                              Hearing Time: 3:00 PM
______________________________________

In Re:                                                       Case No.: 18-41466-cec
                                                             Chapter 11
3733 97 ST CORONA CORP,
                                                             Assigned to:
                       Debtor.                               Hon. Carla E. Craig
                                                             Bankruptcy Judge
______________________________________

   NOTICE OF MOTION FOR IN REM RELIEF FROM AUTOMATIC STAY

         Please take notice that Arvest Central Mortgage Company f/k/a Central Mortgage

Company (the “Creditor”), by the undersigned attorneys, will move this Court on May

23, 2018 at 3:00 PM or as soon thereafter as counsel can be heard, before the Honorable

Carla E. Craig whose courtroom is located at the United States Bankruptcy Court,

Eastern District of New York, Conrad B. Duberstein Courthouse, 271 Cadman Plaza

East, Courtroom 3529, Brooklyn, NY 11201-1800, for an Order (i) pursuant to 11 U.S.C.

§ 362(d)(4) for in rem relief from the automatic stay as to movant's interest in the real

property commonly known as 37-33 97TH STREET, CORONA, NEW YORK 11368

(the “Premises”) such that any and all future bankruptcy filings by 3733 97 St Corona

Corp, Elvis Mata, or any other person or entity with an interest in the Premises shall not

operate as a stay against the Creditor and its successors and/or assigns for a period of two

years after date of said order, (ii) pursuant to 362(d)(1) for relief from the automatic stay

as to Creditor's interest in the Premises, (iii) waiving the fourteen day stay created by

Fed. R. Bankr. P. 4001(a)(3) or any other applicable rule, (iv) approving Creditor's

request for $1,250.00 in reasonable attorney fees and $181.00 in costs incurred in

connection with the motion, and (v) for such other relief as the Court may deem proper.



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DATED: April 13, 2018
       Garden City, New York

                                     By: /s/Ronald Howard
                                     Ronald Howard, Esq.
                                     Berkman, Henoch, Peterson, Peddy & Fenchel, P.C.
                                     Attorneys for Creditor
                                     100 Garden City Plaza
                                     Garden City, NY 11530
                                     Telephone 516-222-6200



TO:
3733 97 St Corona Corp
ATTN: Elvis Mata, President
37-33 97th Street
Corona, NY 11368

Elvis Mata
37-33 97th Street
Corona, NY 11368

Office of the United States Trustee
Eastern District of NY (Brooklyn Office)
U.S. Federal Office Building
201 Varick Street, Suite 1006
New York, NY 10014

97 Street Realty, Inc.
ATTN: Meir C. Abramov
5308-13th Avenue # 248
Brooklyn, NY 11219

Hon. Carla E. Craig
United States Bankruptcy Court
Eastern District of New York
Conrad B. Duberstein Courthouse
271 Cadman Plaza East
Brooklyn, NY 11201-1800




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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
______________________________________

In Re:                                                       Case No.: 18-41466-cec
                                                             Chapter 11
3733 97 ST CORONA CORP,
                                                             Assigned to:
                       Debtor.                               Hon. Carla E. Craig
                                                             Bankruptcy Judge
______________________________________

    AFFIRMATION IN SUPPORT OF MOTION FOR IN REM RELIEF FROM
                        AUTOMATIC STAY

         Ronald Howard, Esq. an attorney associated with the firm Berkman, Henoch,

Peterson, Peddy & Fenchel, P.C., as counsel to Arvest Central Mortgage Company f/k/a

Central Mortgage Company (the “Creditor”), a secured creditor in this case, makes this

motion (the “Motion”), for an order (i) pursuant to 11 U.S.C. § 362(d)(4) and Fed. R.

Bankr. P. 4001(a) for in rem relief from the automatic stay as to the real property

commonly known as 37-33 97TH STREET, CORONA, NEW YORK 11368 (the

“Premises”) such that any and all future bankruptcy filings by 3733 97 St Corona Corp

(the “Debtor”), Elvis Mata, or any other person or entity with an interest in the Premises

shall not operate as a stay against the Creditor and its successors and/or assigns for a

period of two years after date of said order, (ii) pursuant to 362(d)(1) for relief from the

automatic stay as to Creditor's interest in the Premises, (iii) waiving the fourteen day stay

created by Fed. R. Bankr. P. 4001(a)(3) or any other applicable rule, (iv) approving

Creditor's request for $1,250.00 in reasonable attorney fees and $181.00 in costs incurred

in connection with the motion, and (v) for such other relief as the Court may deem

proper, and affirms the following facts in support of the Creditor’s application for relief

from the automatic stay:

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       1.      On March 16, 2018, 3733 97 St Corona Corp (the “Debtor”) filed a

voluntary petition for relief under Chapter 11 of Title 11 of the United States Code with

this Court, and an order for relief was duly entered.

       2.      This Court has jurisdiction to consider this matter pursuant to 28 U.S.C.

§§ 157 and 1334. This is a core proceeding pursuant to 28 U.S.C. § 157(b). Venue of

this proceeding is proper in this jurisdiction pursuant to 28 U.S.C. §§ 1408 and 1409.

The statutory predicate for the relief requested herein is 11 U.S.C. § 362(d).

       3.      The Creditor derives its secured status pursuant to that certain Note and

Mortgage dated March 23, 2007, where Amnet Mortgage in Lieu of True Corporate

Name American Mortgage Network, Inc. (“Amnet”) advanced sums to or for the benefit

of Elvis Mata (“Mata”) in the original principal amount of $680,000.00, which

constitutes a lien against the Premises. On or about April 11, 2008, Amnet assigned the

Note and Mortgage to Luminent, who subsequently assigned the Note and Mortgage to

Creditor on or about November 16, 2010. Please find a copy of the Note, Mortgage, and

related assignments annexed to this motion as Exhibit A.

       4.      Pursuant to the terms and conditions of the Note and Mortgage, upon the

failure of Mata to cure any default thereunder, which includes non-payment of amounts

due, Creditor is entitled to accelerate the loan balance and foreclose on the Premises.

       5.      On December 10, 2010, Creditor commenced an action (the “Foreclosure

Action”) in the Supreme Court of the State of New York County of Queens bearing index

no. 30774/10 for foreclosure as to the Premises, naming Mata and other parties as



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defendants.      On November 25, 2015, the Honorable Darrell L. Gavrin granted a

Judgment of Foreclosure and Sale in favor of Creditor. A copy of the Judgment of

Foreclosure and Sale is annexed to this motion as Exhibit B.

        6.       Case Nos. 16-43536-cec. On or about June 29, 2016, Creditor filed a

notice of sale in the Queens County Supreme Court, which set forth August 5, 2016 as

the date on which Stephen D. Hans (the “Referee”) would conduct a public auction of the

Premises.

        7.       On the morning of the sale, Mata, filed a pro se voluntary petition under

chapter 13 of Bankruptcy Code with this Court bearing case no. 16-43536-cec, listing the

Premises as his address, and an Order of Relief was duly entered.

        8.       On September 20, 2016, the Clerk’s Office submitted a Request for

Judicial Determination Concerning Dismissal Pursuant to 11 U.S.C. § 521(i), citing

Mata’s failure to file schedules of assets and liabilities, a statement of financial affairs, a

statement of monthly income and means test calculation, and copies of pay statements.

In addition, the Mata failed to file a plan of reorganization as required under 11 U.S.C. §

1321 and Fed. R. Bankr. P. 3015(b). The Court dismissed Mata’s case on September 27,

2016.

        9.       Case No. 17-43612-cec. On or about June 21, 2017, Creditor filed a third

notice of sale 1 in the Queens County Supreme Court, which set forth July 14, 2017 as the

date on which the Referee would conduct a public auction of the Premises.




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 A second notice of sale was filed on or about October 31, 2016, which set forth a sale date of December
16, 2016. The state court stayed that sale upon granting Mata’s order to show cause.

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       10.     On July 13, 2017, one day prior to sale, Mata filed a pro se voluntary

petition under chapter 13 of Bankruptcy Code with this Court bearing case no. 17-43612-

cec, listing the Premises as his address, and an Order of Relief was duly entered.

       11.     On August 21, 2017, Micael, J. Macco, acting as the Chapter 13 Trustee,

filed a motion to dismiss with prejudice. The motion alleged the following:

               •   Mata had failed to submit pre-confirmation payments to the Trustee.

               •   Mata had failed to file a chapter 13 plan, certificate of credit

                   counseling, statement of financial affiars, summary of assets and

                   liabilities and certain statistical information, statement of current

                   monthly income and means test, complete set of schedules, and copies

                   of pay statements from employer for the sixty day period preceding

                   filing.

               •   Mata had failed to provide the Trustee with copies of the previous

                   years’s State and Federal Tax Retruns, all filings required under

                   Section 521 and all mandatory disclosure documentation as set forth in

                   LBR 2003-1.

               •   Mata had failed to appear at the initial section 341 meeting of

                   creditors.

       12.     The Court dismissed Mata’s case on October 9, 2017, with prejudice,

prohibiting Mata from filing another petition under chapter 13 or converting a chapter 7

case to a chapter 13 case for a period of one year without consent from the Court.




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        13.      Case No. 17-46246-cec. On or about November 13, 2017, Creditor filed a

fourth notice of sale in the Queens County Supreme Court, which set forth December 1,

2017 as the date on which the Referee would conduct a public auction of the Premises.

        14.      On November 27, 2017, four days prior to sale, Mata filed a pro se

voluntary petition under chapter 7 of Bankruptcy Code with this Court bearing case no.

17-46246-cec, listing the Premises as his address, and an Order of Relief was duly

entered.

        15.      On January 12, 2018, the Clerk’s Office submitted a Request for Judicial

Determination Concerning Dismissal Pursuant to 11 U.S.C. § 521(i), citing Mata’s failure

to file schedules of assets and liabilities, a statement of financial affairs, a statement of

monthly income and means test calculation, and copies of pay statements. The Court

dismissed the Mata’s case on January 17, 2018. A copy of the dismissal order, together

with the dismissal orders discussed supra, is annexed to this motion as Exhibit C.

        16.      On March 15, 2018, a Certificate of Incorporation was filed with the New

York State Department of State, Division of Corporations, to incorporate the Debtor. A

copy of the Division’s Entity Information report for the Debtor is annexed to this motion

as Exhibit D. As of the date of this motion, no deed granting the Debtor an interest in

the Premises has been recorded. 2

        17.      Case No. 18-41466-cec. On or about February 21, 2018, Creditor filed a

fifth notice of sale in the Queens County Supreme Court, which set forth March 16, 2018

as the date on which the Referee would conduct a public auction of the Premises. A copy



2
 According to the Automated City Register Information System maintained by New York City Department
of Finance (http://a836-acris.nyc.gov/CP/), Mata granted all interest in the Premises to 97 Street Realty
Inc., on March 12, 2014, four years before this case was filed.

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of the notice of sale, together with copies of the notices of sale discussed supra, is

annexed to this motion as Exhibit E.

       18.    On the morning of the sale, the Debtor filed the instant pro se voluntary

Chapter 11 petition (collectively with the cases discussed supra, the “Bankruptcy Cases”)

as a small business debtor, listing the Premises its principal place of business, and an

Order of Relief was duly entered. Question 17 of the petition indicates that Mata is the

Debtor’s president.

       19.    As of the date of this Motion, the Debtor has yet to file the following

documents:

              •   Statement Pursuant to E.D.N.Y. LBR 1073−2(b)

              •   Corporate Resolution Pursuant to E.D.N.Y LBR 1074−1(a)

              •   Corporate Ownership Statement Pursuant to Fed. R. Bankr. P.

                  1007(a)(1)

              •   Corporate Disclosure Statement Pursuant to Fed. R. Bankr. P. 1073−3

              •   List of Creditors Who Have the 20 Largest Unsecured Claims and Are

                  Not

              •   Insiders (Official Form 204) (Signed by Debtor)

              •   Affidavit Pursuant to E.D.N.Y. LBR 1007−4

              •   Schedules of Assets and Liabilities

              •   Declaration Under Penalty of Perjury for Non−Individual Debtors

                  (Official Form 202)

              •   List of Equity Security Holders and Addresses (Corporation Only)




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               •   Statement of Financial Affairs for Non−Individuals Filing for

                   Bankruptcy (Official Form 207)

               •   Most recent balance sheet, statement of operations, cash flow

                   statement, and Federal income tax return, or a statement that none of

                   the foregoing have been prepared or filed.

       20.     A copy of the dockets for the dismissed Bankruptcy Cases is annexed to

this motion as Exhibit F.

       21.     According to the Motion for Relief from Stay Worksheet executed by

Chris Moore, an Officer with Creditor, and annexed to this motion as Exhibit G, as of

April 2, 2018, Mata is contractually due for the installment scheduled August 1, 2008.

Mata owes $1,127,668.01 on the Note, and according to the Asset Valuation Solutions

BPO dated November 8, 2017, annexed to this Motion as Exhibit H, the Premises are

valued at $1,000,000.00. Furthermore, should the default continue, another payment due

May 1, 2018 will also be due at the date this Motion is heard.

       22.     I certify under penalty of perjury that the foregoing facts are true to the

best of my knowledge, information, and belief.

  CREDITOR IS ENTITLED TO IN REM RELIEF FROM THE AUTOMATIC
      STAY AS TO THE PREMISES UNDER 11 U.S.C. § 362(d)(4)(B)

       23.     “The cornerstone of consumer bankruptcy is the ‘fresh start’ that it offers

to the ‘honest but unfortunate debtor.’” New York v. Suarez (In re Suarez), 367 B.R. 332,

337, 2007 Bankr. LEXIS 1390, 48 Bankr. Ct. Dec. 60 (Bankr. E.D.N.Y. 2007).

Nonetheless, “any debtor . . . who files for relief under a rehabilitative chapter of the

Bankruptcy Code must proceed in good faith, which is to say must treat his or her




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creditors in a ‘fundamentally fair’ manner. In re Head, 223 B.R. 648, 652, 1998 Bankr.

LEXIS 975, *13, 32 Bankr. Ct. Dec. 1222 (Bankr. W.D.N.Y. 1998).

       24.     However, “[t]he filing of repetitive bankruptcy cases to forestall secured

creditors from exercising foreclosure rights, and without any intent to comply with basic

bankruptcy requirements, is an abuse of process and a violation of the spirit and intent, if

not the actual letter, of the Bankruptcy Code.” In re Hughes, No. 06-32726-SGJ-7, 2007

Bankr. LEXIS 1328, at *41-42 (Bankr. N.D. Tex. Apr. 3, 2007). In such cases, in rem

relief is appropriate in order to allow a secured creditor to complete the foreclosure

process. See Gonzalez-Ruiz v. Doral Fin. Corp. (In re Gonzalez-Ruiz), 341 B.R. 371,

384-85 (B.A.P. 1st Cir. 2006), 2006 Bankr. LEXIS 693 (in rem relief appropriate where

Debtors filed four bankruptcy cases in order to prevent the creditor from completing

foreclosure); In re Selinsky, 365 B.R. 260 (Bankr. S.D. Fl. 2007) (Court ordered in rem

relief where the Debtor and her husband’s five bankruptcy filings constituted a gross

abuse of the bankruptcy process).

       25.     Among the amendments to the Bankruptcy Code enacted under the 2005

Bankruptcy Abuse and Consumer Protection Act was section 362(d)(4), which provides

the Court with statutory authority to grant in rem relief. In re Montalvo, 416 B.R. 381,

386 (Bankr. E.D.N.Y. 2009). The effect of such in rem relief is to preclude all future

bankruptcy filings by any person or entity with interest in the subject property from

operating as an automatic stay against the owner of the property and its successors and/or

assigns for a period of two years after the date of the entry of such order. Id. Section

362(d)(4)(B) provides as follows:

       On request of a party in interest and after notice and a hearing, the court
       shall grant relief from the stay provided under subsection (a) of [section

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       362], such as by terminating, annulling, modifying, or conditioning such
       stay with respect to a stay of an act against real property under subsection
       (a), by a creditor whose claim is secured by an interest in such real
       property, if the court finds that the filing of the petition was part of a
       scheme to delay, hinder, or defraud creditors that involved . . .

               (B) multiple bankruptcy filings affecting such real property.

       If recorded in compliance with applicable State laws governing notices of
       interests or liens in real property, an order entered under paragraph (4)
       shall be binding in any other case under this title purporting to affect such
       real property filed not later than 2 years after the date of the entry of such
       order by the court, except that a debtor in a subsequent case under this title
       may move for relief from such order based upon changed circumstances or
       for good cause shown, after notice and a hearing. Any Federal, State, or
       local governmental unit that accepts notices of interests or liens in real
       property shall accept any certified copy of an order described in this
       subsection for indexing and recording.

       26.     A creditor seeking in rem relief under 11 U.S.C. § 362(d)(4)(B) as to its

interest in property bears the burden of showing that the petition was part of a scheme to

delay, hinder, or defraud creditors that involved multiple bankruptcy filings affecting

such property. The required statutory “scheme” must include at least two bankruptcy

filings. See In re Van Eck, 425 B.R. 54, 70 (Bankr. D. Conn. 2010).

       27.     Creditor is entitled to in rem relief from the automatic stay under 11

U.S.C. § 362(d)(4)(B).

       28.     A bankruptcy court can infer the intent to hinder, delay, and defraud

creditors from the fact of serial filings alone without holding an evidentiary hearing. In

re Richmond, 513 B.R. 34, 38 (Bankr. E.D.N.Y. 2014), quoting In re Procel, 467 B.R.

297, 308 (S.D.N.Y. 2012). Moreover, a scheme to hinder, delay, and defraud creditors

can be inferred from such serial filings where (i) the bankruptcy cases are commenced on

the eve of or shortly before significant events affecting the property, (ii) the petitioners




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repeatedly fail to either file or confirm a chapter 13 plan, and (iii) the petitioners

otherwise fail to prosecute their bankruptcy cases. Montalvo, 416 B.R. at 387.

         29.       Mata never had the intention of using the Bankruptcy Code to reorganize

or discharge debts and obtain a fresh start. In none of the Bankruptcy Cases has Mata

ever proposed a plan of reorganization or filed schedules of assets and liabilities, a

statement of financial affairs, a statement of current monthly income, or copies of pay

statements. Had Mata even the slightest intention to reorganize or discharge his debts,

the failure to file documents so essential to the successful prosecution of a bankruptcy

case would not be so consistent.

         30.       In addition, Mata commenced, or caused to be commenced, each of the

Bankruptcy Cases within four days of a scheduled foreclosure sale (including two cases

filed on the day of sale) only to immediately abandon their proper prosecution. In so

doing, he has repeatedly invoked the protections of the automatic stay in bankruptcy for

the sole purpose of preventing the consummation of a successful sale of the Premises.

         31.       The timing of these events was essential to the uninterrupted perpetration

of Mata’s scheme to delay or hinder Creditor. Because the Court dismissed Mata’s two

most recent prior Bankruptcy Cases within the preceding 12 months, the creation of an

automatic stay would have been precluded by operation of § 362(c)(4)(A)(i) had he

commenced a new case in his name before October 9, 2018. 3                             The only discernible

purpose for the Debtor’s incorporation, one day prior to the commencement of this case,

was to circumvent this anti-abuse rule by allowing a different legal entity with a

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  The Court dismissed the second of the four Bankruptcy Cases, case no. 17-43612-cec, on October 9,
2017. "[I]f a single or joint case is filed by or against a debtor who is an individual under this title, and if 2
or more single or joint cases of the debtor were pending within the previous year but were dismissed, other
than a case refiled under a chapter other than chapter 7 after dismissal under section 707(b), the [automatic
stay] shall not go into effect upon the filing of the later case." 11 U.S.C. § 362(c)(4)(A)(i).

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purported interest in the Premises to commence a bankruptcy case, and to once again

invoke the automatic stay protections of § 362(a) to force yet another sale cancellation.

Consequently, the Debtor’s incorporation was a key aspect of Mata’s scheme to delay or

hinder the Creditor.

       32.     That Mata’s scheme involved multiple bankruptcy filings affecting the

Premises in satisfaction of § 362(d)(4)(B) is evident from the fact that each of the four

Bankruptcy Case petitions identified the Premises as either the respective debtor’s

principal residence or principal place of business, and that each of the petitions forced the

cancellation of then imminent foreclosure sale. In so doing, Mata has repeatedly invoked

the protections of the automatic stay in multiple bankruptcy filings for no purpose other

than to prevent the consummation of a successful sale of the Premises.

       33.     Furthermore, Mata caused this corporate chapter 11 case to be filed pro se

in violation of a long standing Second Circuit prohibition on pro se corporate litigants.

See Sharp v. Bivona, 304 F. Supp. 2d 357, 364 (E.D.N.Y. 2004) (“[t]here exists a

longstanding rule that a corporation may not proceed pro se in federal court, but must

appear by an attorney.”); Jones v. Niagara Frontier Transp. Auth., 722 F.2d 20, 22 (2d

Cir. 1983) (“[s]ince, of necessity, a natural person must represent the corporation in

court, we have insisted that that person be an attorney licensed to practice law before our

courts.”)

       34.     As a result, Mata has managed to occupy the Premises for nearly ten years

at no substantial cost, all while avoiding the effort and expense necessary to properly

prosecute a bankruptcy case.      Consequently, because Mata’s pattern of filing shell

bankruptcy petitions on the eves of foreclosure sales has so effectively hindered and



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delayed the sale of the Premises, and because the only discernible purpose of the

Debtor’s incorporation was to enable Mata to continue that pattern, these acts constitute a

scheme to hinder, delay, or defraud Creditor involving multiple bankruptcy filings

affecting the Premises.

    CREDITOR IS ENTITLED TO RELIEF FROM THE AUTOMATIC STAY
                     UNDER 11 U.S.C. § 362(d)(1)


       35.     Section 362(d)(1) of the Bankruptcy Code provides in pertinent part that

the Court shall grant relief from the stay imposed by Section 362(a) "for cause, including

lack of adequate protection of an interest in property..." 11 U.S.C. § 362(d)(1), failure to

make post-petition mortgage payments constitutes "cause" to modify the automatic stay.

See In re Taylor, 151 B.R. 646 (E.D.N.Y.1993); In re Davis, 64 B.R. 358, 359 (Bankr.

S.D.N.Y. 1986); In re Frascatore, 33 B.R. 687 (Bankr. E.D. Pa. 1983). The party seeking

relief from the automatic stay has the initial burden of establishing “cause.” In re

Mazzeo, 167 F.3d 139, 142 (2d Cir. 1999); In re Godt, 282 B.R. 577, 584 (E.D.N.Y.

2002). Once the movant establishes a prima facie case of cause to lift the stay, the

burden shifts to the debtor. Id.



       36.     The only way the Court can ensure that neither Mata nor any other entity

further abuses the Bankruptcy Code by forcing yet another improper postponement of the

sale is to grant in rem relief from the automatic stay under 11 U.S.C. § 362(d)(4). Thus,

the Court should grant Creditor’s motion.

       37.     Creditor respectfully requests $1,250.00 for reasonable attorney fees and

$181.00 in costs incurred in connection with the instant motion, pursuant to the terms of



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the Note and Mortgage. The Mortgage provides that Creditor shall be reimbursed for any

appropriate amounts, including reasonable attorney’s fees, spent to protect Creditor’s

interest in the Premises, which is secured by the Note and Mortgage.

       38.      A copy of a proposed Order granting the relief sought by Creditor is

annexed to this motion as Exhibit I.



       WHEREFORE, Creditor respectfully requests that an Order be granted

       (a) terminating the automatic stay, and effecting in rem relief immediately as to

             Creditor's interest in the Premises under 11 U.S.C. § 362(d)(4)(B);

       (b) waiving the fourteen day stay created by Fed. R. Bankr. P. 4001(a)(3) or any

             other applicable rule;

       (c) approving Creditor's request for $1,250.00 in reasonable attorney fees and

             $181.00 in costs incurred in connection with the instant motion; together with

       (d) such other, further, and different relief as the Court may deem just in this

             matter.

DATED: April 13, 2018
       Garden City, New York

                                        By: /s/Ronald Howard
                                        Ronald Howard, Esq.
                                        Berkman, Henoch, Peterson, Peddy & Fenchel, P.C.
                                        Attorneys for Creditor
                                        100 Garden City Plaza
                                        Garden City, NY 11530
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